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13                       IN THE UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF ARIZONA
15

16   Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS

17                 Plaintiff,
18                                           UNOPPOSED MOTION TO MODIFY
     vs.
                                             DEADLINE FOR COMPLETION OF
19                                           FACT   DISCOVERY  AND   TO
     Jeffrey Bardwell and Fanny F. Bardwell,
20                                           CONTINUE ALL DATES IN THE
     husband and wife,
                                             CASE MANAGEMENT ORDER
21
                 Defendants.
22

23          Defendants, Jeffrey Bardwell and Fanny F. Bardwell move the Court for an Order
24   extending the deadline “for final supplementation of MIDP responses and the completion
25
     of fact discovery, including discovery by subpoena”, for a period of sixty (60) days from
26
     March 20, 2020 to May 22, 2020. This requested extension will require the Court to
27
     extend other associated deadlines and the undersigned avows Plaintiff’s counsel does not
28
     oppose this request.



                                                 1
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1
           The extension is requested based upon the timeline set forth below and for the
2
     following reasons:
3

4          a. On February 27, 2020, Plaintiff was deposed in this matter. While Plaintiff was
5                testifying he revealed that additional accounting records and files exist and were
6                likely in the care and custody of Plaintiff’s current and previously undisclosed
7                accountants;1
8          b. On March 2, 2020, a discovery dispute teleconference was conducted by the
9                Court regarding Plaintiff’s invocation of the account-client privilege.
10         c. During the conference the Court was informed that Defendant’s deposition was
11               scheduled for March 6, 2020 and the deposition of Plaintiff’s former accountant
12
                 (Mr. Shisler) was scheduled for March 12, 2020;
13
           d. The Court determined consideration of the waiver issue was premature, but also
14
                 discussed other factors or concerns and indicated the waiver issue may become
15
                 ripe after Mr. Shisler was deposed;
16
           e. On March 6, 2020, Defendant was deposed. During Defendant’s deposition the
17
                 undersigned was advised Plaintiff was waiving the accountant-client privilege;
18
           f. On March 11, 2020, an additional 257 pages of tax related records were
19
                 disclosed to Defendant’s counsel;
20
           g. Due to the need to review these records carefully, Mr. Shisler’s deposition was
21
                 continued;
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23

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           1
               The undersigned wishes to make clear that both counsel were unaware of this
28         information prior to Mr. Pratte’s deposition;



                                                     2
             Case 2:19-cv-00239-GMS Document 40 Filed 03/18/20 Page 3 of 4



1
            h. Thereafter, the COVID-19 public health issue arose causing unforeseen and
2
               unavoidable delays impacting the parties’ ability to complete fact discovery and
3
               to comply with the current scheduling order and other deadlines set in this case;
4
            i. Mr. Shisler’s counsel, Michael Plati of Dickinson Wright, advised their office
5
               is currently closed due to public health concerns and Plaintiff’s current CPA
6
               firm, Secore and Niedzelak, advised their office building was on restricted
7
               access, but they would accept service of a subpoena duces tecum by email and
8

9
               respond as soon as is reasonably practicable under the circumstances.

10          As previously represented to the Court, the parties are working amicably to resolve
11   most matters without court intervention and are proceeding as diligently as possible under
12
     the circumstances. Recent events, however, make adherence to the present scheduling
13
     order impossible. Moreover, there is no present certainty as to when the remaining
14
     depositions may be able to be conducted which, in turn, impact other attendant deadlines.
15
     Based upon the timeline above Defendants assert there is good cause to extend the
16
     deadlines for a period of sixty days. This period of time will enable the parties to better
17
     assess the state of affairs in light of recent events and, if resolved, schedule and conduct
18
     the remaining critical depositions.
19

20          Plaintiff does not oppose this request.
21
            Defendants suggest that rather than setting forth firm dates at this time, that the
22
     Court consider Ordering the parties to file a joint status report in 30-days informing the
23
     Court whether depositions were able to be scheduled and whether the case can proceed
24
     under otherwise normal timeframes. At that time and in conjunction with the status report
25
     the Parties can also tender a suggested modified scheduling Order for the Court’s
26
     consideration setting forth new times by which the parties must comply with all other
27
     deadlines, i.e., disclosure of experts, rebuttal reports, dispositive motions, and other
28
     matters. This will avoid the need to vacate and further amend dates.


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             A proposed order reflecting the request to continue all case related deadlines for
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     60-days and ordering a status report and proposed dates to be filed in approximately 30-
3
     days is attached.
4
     DATED this 18th day of March, 2020.
5

6

7
                                        By: /s/ Thomas J. Marlowe
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12                               CERTIFICATE OF SERVICE
13
             I, Thomas J. Marlowe, hereby certify that on March 18, 2020, I electronically
14
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
15

16   and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this

17   case.
18
     By: /s/ Thomas J. Marlowe
19

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